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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                 CASE No.: 0:21-CV-61651



  AFFORDABLE AERIAL PHOTOGRAPHY
  INC

        Plaintiff,

         v.

  MASTER TOUCH POOL SERVICES, INC
  AND NILSON SILVA

        Defendants.
  ___________________________________



       DEFENDANTS’ CERTIFICATE OF INTERESTED PARTIES AND RULE 7.1
                   CORPORATE DISCLOSURE STATEMENT

        Pursuant to Fed. R. Civ. P. 7.1, Defendants MASTER TOUCH POOL SERVICES,
  INC and NILSON SILVA hereby provides the following information:
        1. For nongovernmental corporate party, the name(s) of its parent corporation and any
              publicly held corporation that owns 10% or more of its stock: There is no parent
              corporation and any publicly held corporation that owns 10% or more of Plaintiff’s
              stock.
        2. A complete list of all persons, associated persons, firms, partnerships, or corporations
              that have a financial interest in the outcome of this case:


              A. Affordable Aerial Photograph, Inc.
              B. Master Touch Pool Services, Inc.
              C. Nilson Silva
              D. Copycat Legal PLLC
              E. Daniel DeSouza, Esq.
              F. James D’Loughy, Esq
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            H. Bailey Duquette, P.C.
            I. German Morales, Esq.
            J. Lizet Cardozo, Esq.
            K. RL Drolet Patent Prosecution Services, LLC
            L. Robert Drolet


  Dated: October 25th, 2021




                                             Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY, that on September 25, 2021, I electronically filed the foregoing

  with the Clerk of the Court by using the CM/ECF system. I also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties identified on the

  attached Service List in the manner specified, either via transmission of Notices of Electronic

  Filing generated by CM/ECF or in some other authorized manner for those counsel or parties

  who are not authorized to receive electronically Notices of Electronic Filing.

                                                  By: /s/ German Morales, Esq.
                                                      German Morales, Esq.



                                          SERVICE LIST

                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

             Affordable Aerial Photography, Inc. v. Master Touch Pool Services, Inc.,
                                Case No.: 0:21-CV-61651-WPD

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